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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
Fort Worth DIVISION

MO-1 (3/07)

 

 

 

 

 

HONORABLE Terry R, Means PRESIDING COURT REPORTER/TAPE: Ana Warren
DEPUTY CLERK Michelle Moon USPo Javier Lujan
LAW CLERK INTERPRETER

 

 

CSO: Ted Carmean

 

 

 

 

 

 

CR. No. 4:18-CR-153-Y DEFT. No. __{1)
UNITED STATES OF AMERICA § Robert J. Boudreau, AUSA
§
Vv. §
§
KYLE EDWARD D'AQUILLA § Cody L. Cofer (A)
Defendant's Name Counsel for Deft. Appt-(A), Retd-(R), FPD-(F)
SENTENCING

Date Held: 4-23-19

Hearing Type: [(_] Sentencing Hearing - Contested Sentencing Hearing - Non-Evidentiary

Time in Court: _24 mins.

Trial Status: Completed by Jury Verdict _] Continued from Previous Month [_] Directed Verdict [_] Evidence Entered
[_]Hung Jury [_] Jury Selection Only, continued C] Jury Selection or Verdict Only (No Trial Before this Judge)
[_]Mistrial [_]Settled/Guilty Plea [_] None

Days in Trial:

Hearing Concluded: |X [x] Yes L_] No

Sentencing held. LJ Objections to PSI heard. Plea agreement accepted. [_] Plea agreement NOT accepted.
L] Sentencing Guidelines (_]Departs Upward L] Departs Downward

 

 

 

SENTENCING TEXT:
C) .. Deft. placed on: Probation for
.. Deft. committed to custody of the AG/BOP to be imprisoned for a TOTAL term of 188 months
.. Deft. placed on: Supervised Released for__3 years .
L] .. Restitution ordered in the amount of $ and/or Fine imposed in the amount of $
-.  Count(s) Vorig. indictment) dismissed on government's motion.
CI.. Order dismissing original Indictment/Information to be entered upon government's written motion.
.. $100.00 __ special assessment on Count(s)
of [| Complaint C] Indictment LJ infomation L] Superseding Indictment Superseding Information.
Ly... Deft ordered to surrender to the designated institution on . Fl L E D
CJ oo. Deft failed to appear, bench warrant to issue.
beeeeae Bond [_] continued [_] revoked A pril 23, 201 9
XI... D is right t 1.
eft Advised of his right to appea KAREN MITCHELL
OOo... Deft requests Clerk to enter notice of Appeal. CLERK, U.S. DISTRICT COURT
Lee nees Deft Custody/Detention continued.
Leeeeee BetSREVMRSDEDMN BIGIORIK Court recommends incarceration at FC! Coleman Medium, Sumterville, FL

 

OTHER PROCEEDINGS/INFORMATION; Attorney Admissions (2)

 

 

 

 

 
